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U.S. DISTRICT COURT

WESTERN DISTRICT OF LOUISIANA
FILED

IN THE UNITED STATES DISTRICT COURT FOR THE MAY 2 2 2001

ROBERT H. SAEMWELL, CLERK
WESTERN DISTRICT OF LOUISIANA ee Ao ee

  
  

DEPUTY

SHREVEPORT DIVISION
JACQUETTA MITCHELL : CIVIL ACTION NO.: 00-2475
VERSUS : JUDGE: Walter
BAILEY PROPERTIES, L.L.C. d/b/a/ : MAGISTRATE JUDGE: Payne

WESTWOOD VILLAGE APARTMENTS :
: JURY DEMAND

RULE 26(f) CASE MANAGEMENT REPORT

A meeting of counsel was held on May 8, 2001, via telephone. The following persons
participated: Allison A. Jones, counsel for Jacquetta Mitchell, and Jennifer B. Drago, counsel
for Bailey Properties, L.L.C. d/b/a Westwood Village Apartments.

1. Initial Disclosures

Plaintiff's Initial Disclosures will be made on May 21, 2001. Defendant’s Initial
Disclosures were made on May 18, 2001. Complete disclosures under 26(a)(1)(C) have not
been made as it is the position of the parties that such disclosures can not be completed until
the completion of discovery.

2. Jurisdiction

Neither party challenges the Court’s federal subject matter jurisdiction.

3. Joinder of Parties and Amendment of Pleadings

Neither party anticipates amendment of pleadings or adding any additional parties.

4, Discovery Issues

To date, no discovery has been exchanged.

 
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The Plaintiff has been deposed and the parties are exchanging dates for further
depositions.

Presently, the parties do not anticipate any discovery disputes.

A proposed cut-off date for discovery is October 31, 2001.

5. Alternative Dispute Resolution

Plaintiff is amenable to ADR with an independent, private mediator. Defendant is
amenable to ADR provided that it is done by a magistrate judge in the Western District.

6. Trial by Magistrate Judge

Plaintiff does not consent to trial before the assigned magistrate judge.

Respectfully submitted,

DAVIDSON, NIX & JONES JEANSONNE & REMONDET
509 Market Street, Suite 800 6007 Financial Plaza, Suite 708
Shreveport, Louisiana 71101 Shreveport, Louisiana 71129

Telephone: (318) 424-4342
Telecopy;318) 226-01

Telephone: (318) 671-8102
Telecopy: (318) 671-8103

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By: :
“Allison A. Jones, Bat No. 16990 Teper B. Drago, Bar No. 23633
Attorneys for Plain Atterneys for Defendant

 
